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                                         October 20, 2015

VIA UNITED STATES MAIL AND
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William Lucco
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Post Office Box 539
Edwardsville, Illinois 62025

        In re: United States v. Anthony Jordan
               Cause No. 4:15 CR 404 HEA (NAB)

Messrs. Lucco and Threlkeld:


       Enclosed please find additional discovery materials which are being produced pursuant
to the United States of America’s continuing duty under Federal Rule of Criminal Procedure
16(c).

        Please do not hesitate to contact me if you have additional questions.




                                         Very truly yours,

                                         /s/ Thomas Rea_________
                                         THOMAS REA
                                        Assistant United States Attorney




cc:     Clerk, United States District Court (w/o encls.)
